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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division
lntersections lnc. and Net Enforcers, lnc.,
Plaintiffs,
v. Civil Action No. l:O9CV597 (Ll\/IB/TCB)

Joseph C. Loomis and Jenni M. Loomis,

Defendants.

 

 

DEFENDANT’S OBJECTI()NS TO MAGISTRATE JUDGE’S ORDER DENYING
DEFENDANT’S MOTION TO VACATE PROTECTIVE ()RDER

Comes now Defendant Joseph C. Loomis (“Mr. Loomis”), by counsel, and timely files
his Objections to Magistrate Judge Theresa C. Buchanan’s Order denying Defendant’s Motion to
Vacate Protective Order, dated March 17, 2011, Docket No. 263, as set forth beloW.

First, the Protective Order is so unconstitutionally broad and imprecise that it cannot
possibly be upheld under Fourth Circuit precedent The Magistrate Judge brushed over every
one of the arguments pointing out the Protective Order’s unenforceability, devoting not a single
vvord of analysis to the issue.

Secona’, all of the contact that the l\/lagistrate Judge found problematic With respect to the
Protective Order occurred in Arizona during the pendency of an existing federal bankruptcy case.
At all relevant times, there vvas an automatic stay that had been imposed under federal law as to
the underlying Virginia merits litigation.l This Court has no authority to sanction a litigant for
conduct that occurs under the auspices of a federal bankruptcy court in another jurisdiction

vvhere a statutorily-imposed automatic stay is in place. Had Plaintiffs Wanted to docket the

 

1 At one point, the automatic stay Was partially lifted to allow litigation of a question related to Whether
this case had settled, but that partial lifting of the stay did not impact the stay of the underlying,
substantive proceedings

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Protective Order in the bankruptcy court, where this entire case might have been tried for all
anyone knew at the time of the contacts, they could have done so. However, they undoubtedly
knew that the Protective Order would never have been enforced in that jurisdiction

Third, the Magistrate Judge reversed her own in-court clarification of who was enjoined
from contacting persons under the Protective Order, brushing aside even Plaintiffs’ written
acknowledgement of its limitation to only Mr. Loomis and former Arizona counsel. She
effectively found that the Protective ()rder applied to two attorneys who were unrelated to the
former Arizona counsel. This is truly unfair, and the interpretation is so sweeping that it would
have prevented Mr. Loomis’ esteemed, senior bankruptcy counsel (l\/lr. Gerald Smith of Lewis &
Roca, LLP) from taking a deposition in another federal case. Obviously this is an untenable
result.

Fourth, and assuming all of these jurisdictional problems with the Protective Order could
be overcome, the only conduct that was actually encompassed by the Protective Order concerned
a single text message and a single voicemail to one Witness concerning some ski clothes, and as
to another witness with whom Mr. Loomis had a number of social contacts. The Magistrate
Judge essentially found, without any supporting evidence or analysis, that somehow these
contacts would irreparably damage the Plaintiffs’ case.

Fz`flh discovery should have been allowed as to the issues which formed the basis the
default recommendation

ln support of the foregoing, the Court’s attention is respectfully directed to the Facts and
Argument contained in Defendant’s Objections to Repoit and Recommendation for entry of

Default Judgment against Joseph C. Loomis, which matters are incorporated herein by reference

 

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The foregoing premises considered, Defendant Joseph C. Loomis hereby moves this
Honorable Court to reject the Order denying Defendant’s Motion to Vacate Protective Order and
to vacate the Protective Order entered in this case on October 30, 2009. ln all cases he seeks
such other and further relief as justice may require.

Respectfully submitted,

/s/

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CERTIFICATE OF SERVICE

l hereby certify that on this 30th day of March, 2011, l have filed a true and correct copy of
the foregoing with the Clerk of Court via the Cl\/l/ECF efiling system which will send notification of

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